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                             UNITED STATES DISTRICT COURT                              SEP 3 0 2015
                              DISTRICT OF SOUTH DAKOTA
                                  SOUTHERN DIVISION                                     )r~J     L.
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ERIC CASTANEIRA,                                   *             CIV 10-4039
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                Plaintiff,                         *
                                                   *
        vs.                                        * MEMORANDUM OPINION
                                                   * AND ORDER DENYING
MIDLAND NATI ONAL LIFE                             *      MOTION TO MODIFY
INSURANCE COMPANY, et al.,                         *            INJUNCTION
                                                   *
                Defendants.                        *
                                                   *
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       Pending before the Court is Plaintiff Eric Castaneira' s motion to modify the injunction in this
case. (Doc. 148.) For the following reasons, the motion will be denied.


                                         BACKGROUND
       Plaintiff Eric Castaneira filed this lawsuit on April 16, 2010, alleging that Defendants
breached a Mutual Release signed by the parties on December 30, 2003, and seeking damages from
Midland National Life Insurance Company (Midland National) as a result of the breach. Midland
National answered and filed its counterclaims on July 23, 2010. On August 31, 2010, Midland
National filed a motion for a temporary restraining order and a motion for preliminary injunction
requesting an order requiring that Castaneira de-publish web-based publications and postings
disparaging Midland National and its representatives in furtherance of his extortion campaign. The
temporary restraining order was entered, and the Court later granted the preliminary injunction. On
November 9, 2011, a default judgment and permanent injunction were entered requiring Castaneira
to refrain from further disparagement of Midland National after finding, among other things:
       that Castaneira's demand for the payment of over $500,000 in cash and loans in
       exchange for shutting down his website and ending his other activities detrimental
       and disparaging to Midland National was extortion, rather than an innocent
       settlement demand. The Court finds that Castaneira expressly linked the promised
       shutdown of the site and the cessation of disparaging activities to the demand for
       monetary payments.
               The Court finds that there is no adequate remedy at law for the harm being
       inflicted on Midland National and its agents as a result of Castaneira' s disparagement
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       and extortion. The Court finds that although Midland National's agents are not
       parties to this action, the harm inflicted on these agents ultimately causes irreparable
       harm to Midland National as well. The damages resulting from the impaired good
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       will, reputation, agent relationships, and customer relationships resulting from               I
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       Castaneira's disparagement and extortion cannot possibly be quantified fully, and              !
       represents both actual and threatened irreparable harm.
                The Court finds that there is no harm to Castaneira in granting the Order for
       a Permanent Injunction that is entitled to the protection of the law. Although
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       Castaneira normally would have the right to engage in free speech that disparaged              I
       Midland National, so long as such speech was truthful, the Court finds that once
       Castaneira coupled his criticisms and disparagement of Midland National with his               It
       extortionate demands for the forfeiture of agent contracts and the payment of cash,            i
       Castaneira forfeited his right to engage in such otherwise protected speech. The
       Court finds that extortionate speech enjoys no Constitutional protection. Thus, when
       balancing the legitimate interests of Midland National and its agents from being free
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       from extortion against the absence of any protected interest in engaging in                    f
       extortionate conduct, a permanent injunction is properly granted.                              l
                The Court finds that there is a strong public interest in the exercise of free        ~
       speech, and concludes that injunctions preventing speech must not improperly
       infringe on the right to free speech. The Court nonetheless concludes that there is no
       Constitutional right to engage in extortionate speech, regardless of the truth or falsity
       of the speech, and regardless whether such speech would otherwise be
       Constitutionally protected if not coupled with an extortionate demand for money and
       other things of value. On balance, the Court finds that Castaneira has forfeited his
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       right to state his facts and opinions concerning Midland National because he has               f
       coupled the communication of those facts and opinions with extortionate demands.
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(Doc. 80, Default Judgment and Permanent Injunction at 3-4.)
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                                                                                                      II
       Eventually, Castaneira was held in contempt of court pursuant to 18 U.S.C. § 401 for his       ;,
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continued, willful, inexcusable and bad faith violations of multiple orders. On September 24, 2013,
Midland Life moved to enforce the civil contempt order. A hearing was held and Castaneira was
ordered to self-surrender to the Marshals' office to serve a term of imprisonment until he purged
himself of the civil contempt. (Doc. 128.) The surrender date was extended to December 2, 2013.
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(Doc. 129.) Attorney James E. McMahon filed Notice of Appearance on Castaneira's behalf on            it
December 3, 2013. The parties began negotiations and an order granting Castaneira's conditional
release was entered on December 12, 2013. (Doc. 140.) A joint motion purging Castaneira of
contempt was filed, and an order granting the motion was entered on October 29, 2014.


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        Less than two months after he was purged of his contempt of court, Plaintiff filed the current
motion to modify the injunction. (Doc. 148.) In the motion, Plaintiff says that, during the earlier
proceedings, Defendants intimidated and coerced Plaintiffinto abdicating his rights. Thus, according
to Castaneira, the Court should modify the injunction and allow him to maintain a website describing
Midland National's behavior within reasonable limitations.


                                           DISCUSSION
       The Court construes Castaneira's motion as a motion under Federal Rule of Civil Procedure
60(b). Rule 60(b) of the Federal Rules of Civil Procedure allows a party to seek relief from a final
judgment and to request reopening a case under a limited set of circumstances including fraud,
mistake, and newly discovered evidence.


       Castaneira's Rule 60(b) motion appears to fall under subsection (3)-"fraud,
misrepresentation, or misconduct by an opposing party"-in that Castaneira argues Defendants
coerced and intimidated him into abdicating his rights in the earlier proceedings. Motions pursuant
to Rule 60(b )(3) must be brought "no more than a year after the entry of the judgment or order or the
date of the proceeding." Fed.R.Civ.P. 60(c)(l). Castaneira filed his motion over three years after
entry of the default judgment and permanent injunction. Castaneira's motion must be denied as
untimely. Id.; see also Lester v. Empire Fire & Marine Ins. Co., 653 F.2d 353, 354 (8th Cir. 1981)
(motion based on fraud was time-barred).


       Rule 60(b)(5) allows the court to modify an injunction when changed circumstances have
caused it to be unjust. But this requires a showing of a "significant change in either the factual or
the legal landscape warranting relief from the injunction," Keith v. Mullins, 162 F.3d 539, 541 (8th
Cir. 1998), and Castaneira has failed to make such a showing. In fact, he is relying on the
circumstances that existed at the time of entry of judgment- not on changed circumstances.
Castaneira was represented by an excellent lawyer during the proceedings beginning on December
3, 2013, and he could have asked his lawyer to raise these issues, but he did not. The Court only
allowed Castaneira's release from prison under certain conditions, including that he either issue a
letter of apology or explain, "with supporting evidence" why he should not be required to submit the


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apology. (Doc. 140.) Castaneira had two months to confer with his lawyer and come forward with
any evidence of misconduct by Midland National, and he did not. Castaneira admits that the               I
circumstances he relies on to modify the injunction existed at the time the judgment was entered.
Thus the circumstances cannot justify modifying the injunction under Rule 60(b )(5).                     I
       Relief is also not warranted under Rule 60(b )( 6), which permits the court to relieve a party
from a final judgment or order for "any other reason that justifies relief." The Eighth Circuit has
described Rule 60(b)(6) as "an extraordinary remedy" for "exceptional circumstances." In re
Zimmerman, 869 F.2d 1126, 1128 (8th Cir. 1989). The Court has carefully reviewed all of
Castaneira's filings and, although this case involves unusual facts, Castaneira has failed to convince
the Court that an exceptional circumstance exists which justifies the extraordinary remedy of relief
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from the permanent injunction entered by this Court on November 9, 2011. Accordingly,
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       IT IS ORDERED that the Motion for the Court to Order Sua Sponte a hearing to
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       Modify Injunction, doc. 148, is denied.
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Dated this   ~6......-day of September, 2015.




                                                awrence L. Piersol
                                                nited States District Judge

ATTEST:




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